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                                    U.S. District Court
                                Eastern District of Missouri
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                                   St. Louis, MO 63102

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